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                                         In the

                United States Court of Appeals
                           For the Seventh Circuit
                               ____________________
         No. 16-1652


         IN RE:
                  SUBWAY FOOTLONG SANDWICH MARKETING AND
                  SALES PRACTICES LITIGATION.

         APPEAL OF:
              THEODORE FRANK,
                         Objector.
                               ____________________

                       Appeal from the United States District Court
                          for the Eastern District of Wisconsin.
                       MDL No. 13-02439 — Lynn Adelman, Judge.
                               ____________________

            ARGUED SEPTEMBER 8, 2016 — DECIDED AUGUST 25, 2017
                         ____________________

            Before FLAUM, ROVNER, and SYKES, Circuit Judges.
             SYKES, Circuit Judge. In January 2013 an Australian teen-
         ager measured his Subway Footlong sandwich and discov-
         ered that it was only 11 inches long. He photographed the
         sandwich alongside a tape measure and posted the photo on
         his Facebook page. It went viral. Class-action litigation soon
         followed. Plaintiffs’ lawyers across the United States sued




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         Subway for damages and injunctive relief under state
         consumer-protection laws, seeking class certification under
         Rule 23 of the Federal Rules of Civil Procedure. The suits
         were combined in a multidistrict litigation in the Eastern
         District of Wisconsin.
             In their haste to file suit, however, the lawyers neglected
         to consider whether the claims had any merit. They did not.
         Early discovery established that Subway’s unbaked bread
         sticks are uniform, and the baked rolls rarely fall short of
         12 inches. The minor variations that do occur are wholly
         attributable to the natural variability in the baking process
         and cannot be prevented. That much is common sense, and
         modest initial discovery confirmed it. As important, no
         customer is shorted any food even if a sandwich roll fails to
         bake to a full 12 inches. Subway sandwiches are made to
         order in front of the customer; meat and cheese ingredients
         are standardized, and “sandwich artists” add toppings in
         whatever quantity the customer desires.
             With no compensable injury, the plaintiffs’ lawyers shift-
         ed their focus from a damages class under Rule 23(b)(3) to a
         class claim for injunctive relief under Rule 23(b)(2). The
         parties thereafter reached a settlement. For a period of four
         years, Subway agreed to implement certain measures to
         ensure, to the extent practicable, that all Footlong sandwich-
         es are at least 12 inches long. The settlement acknowledged,
         however, that even with these measures in place, some
         sandwich rolls will inevitably fall short due to the natural
         variability in the baking process. The parties also agreed to
         cap the fees of class counsel at $525,000. The district court
         preliminarily approved the settlement.




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            Theodore Frank objected. A class member and profes-
         sional objector to hollow class-action settlements, see, e.g., In
         re Walgreen Co. Stockholder Litig., 832 F.3d 718 (7th Cir. 2016),
         Frank argued that the settlement enriched only the lawyers
         and provided no meaningful benefits to the class. The judge
         was not persuaded. He certified the proposed class and
         approved the settlement. Frank appealed.
             We reverse. A class action that “seeks only worthless
         benefits for the class” and “yields [only] fees for class coun-
         sel” is “no better than a racket” and “should be dismissed
         out of hand.” Id. at 724. That’s an apt description of this case.
                                 I. Background
             In January 2013 Matt Corby, an Australian teenager, pur-
         chased a Subway Footlong sandwich and, for reasons un-
         known, decided to measure it. The sandwich was only
         11 inches long. He took a photo of the sandwich next to a
         tape measure and posted the photo on his Facebook page.
         Thus a minor social-media sensation was born. A few media
         outlets and some Subway customers were inspired to con-
         duct their own sandwich-measuring experiments. See, e.g.,
         Kaylee Osowski, Some Subway “Footlong” subs don’t measure
         up, N.Y. POST (Jan. 17, 2013), http://nypost.com/2013/01/17/
         some-subway-footlong-subs-dont-measure-up.
             Subway immediately issued a press release announcing
         that it had “redoubled” its efforts “to ensure consistency and
         correct length in every sandwich.” The franchisor assured its
         customers that its “commitment remains steadfast” to
         ensure that every Footlong sandwich sold at each of its
         restaurants “worldwide” is at least 12 inches long.




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             Within days of Corby’s post, the American class-action
         bar rushed to court. Plaintiffs’ lawyers sued Subway seeking
         damages and injunctive relief under the consumer-
         protection laws of various states. 1 Subway moved to transfer
         the cases to a single district court for a multidistrict litiga-
         tion. The cases—nine in total—were eventually consolidated
         in the Eastern District of Wisconsin.
             In the meantime, the parties agreed to conduct limited
         informal discovery in anticipation of mediation. The early
         discovery revealed that the claims were factually deficient.
         For starters, the vast majority of Subway Footlong sand-
         wiches are, as the name implies, at least 12 inches long. The
         few that do not measure up generally fall short by only
         about a quarter-inch, and the shortfalls are the inevitable
         consequence of natural—and unpreventable—vagaries in
         the baking process. Additionally, all of Subway’s raw dough
         sticks weigh exactly the same, so the rare sandwich roll that
         fails to bake to a full 12 inches actually contains no less bread
         than any other. What’s more, Subway standardizes the
         amount of meat and cheese in each sandwich, and sandwich
         makers prepare each one to order right in front of the cus-
         tomer, adding toppings on request. So the length of the
         bread has no effect on the quantity of food each customer
         receives.
            This early discovery, limited though it was, extinguished
         any hope of certifying a damages class under Rule 23(b)(3).
         The overwhelming majority of Subway’s sandwiches lived


         1 Doctor’s Associates, Inc., the franchisor for Subway restaurants, is the
         actual defendant in the suits. For ease of reference, we’ll refer to the
         defendant as Subway.




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         up to their advertised length, so individual hearings would
         be needed to identify which purchasers actually received
         undersized sandwiches. But sandwich measuring by
         Subway customers had been a fleeting social-media meme;
         most people consumed their sandwiches without first
         measuring them. Proof of injury was nigh impossible be-
         cause no customer whose sandwich roll actually failed to
         measure up received any less food because of the shortfall.
         In addition, the element of materiality—a requirement for a
         damages claim under most state consumer-protection stat-
         utes—was an insurmountable obstacle to class certification.
         Individualized hearings would be necessary to identify
         which customers, if any, deemed the minor variation in
         bread length material to the decision to purchase.
             Rather than drop the suits as meritless, class counsel re-
         focused their efforts on certifying an injunction class under
         Rule 23(b)(2) and eventually filed a consolidated class
         complaint seeking only injunctive relief. Following media-
         tion, the parties agreed in principle to a settlement in which
         Subway committed to institute a number of practices de-
         signed to ensure, to the extent practicable, that its sandwich
         rolls measure at least 12 inches long and to keep those
         practices in place for four years.
             More specifically, Subway agreed that (1) franchisees
         would “use a tool” for measuring sandwich rolls; (2) corpo-
         rate quality-control inspectors would measure a sampling of
         baked bread during each regularly scheduled compliance
         inspection; (3) the inspectors would check bread ovens
         during each compliance inspection “to ensure that they are
         in proper working order and within operating specifica-
         tions”; and (4) Subway’s website and each franchised restau-




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         rant would post a notice explaining that the natural variabil-
         ity in the bread-baking process will sometimes result in
         sandwich rolls that are shorter than the advertised length.
         The settlement also explicitly acknowledged that “because of
         the inherent variability in food production and the bread
         baking process,” Subway could not guarantee that each
         sandwich roll will “always be exactly 12 inches or greater in
         length after baking.”
             Having agreed in substance to the terms of a settlement,
         the parties spent the next year or so dickering over fees for
         class counsel and incentive awards for the named plaintiffs.
         They eventually agreed to cap attorney’s fees at $525,000 and
         incentive awards at $1,000 for each named plaintiff. The
         district judge preliminarily approved the settlement and
         scheduled a fairness hearing. Class counsel filed a motion
         seeking $520,000 in attorney’s fees and a $500 incentive
         award for each of ten named plaintiffs.
             Frank objected to the settlement and class certification.
         He argued that the proposed injunction didn’t benefit the
         class in any meaningful way and so the settlement was
         worthless. The judge was unmoved. He approved the set-
         tlement and certified a class of “all persons in the United
         States who purchased a 6-inch or Footlong sandwich at a
         Subway restaurant between January 1, 2003[,] and …
         October 2, 2015.” The judge also accepted class counsel’s
         request for $520,000 in fees as reasonable and approved the
         proposal for a $500 incentive award for each class repre-
         sentative. Final judgment was entered in accordance with
         these rulings. Frank appealed.




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                                 II. Discussion
         A. Standing
             The first issue on appeal concerns Frank’s standing. The
         plaintiffs and Subway insist that he lacks standing to appeal
         because he doesn’t have any interest in the amount of attor-
         ney’s fees awarded as part of the settlement. Because the
         settlement provides only injunctive relief to the class—not
         monetary relief—any reduction in attorney’s fees will return
         to Subway and not to class members like Frank. See Pearson
         v. NBTY, Inc., 772 F.3d 778, 786 (7th Cir. 2014) (“If the class
         cannot benefit from the reduction in the award of attorneys’
         fees, then the objector, as a member of the class, would not
         have standing to object, for he would have no stake in the
         outcome of the dispute.”).
             But Frank’s appeal does not take aim at the judge’s ruling
         on class counsel’s motion for attorney’s fees. He challenges
         the certification of the class and the approval of the settle-
         ment. True, a decision to reverse the judgment will unwind
         the award of attorney’s fees, and neither Frank nor any other
         class member will benefit from reducing the fees of class
         counsel to zero. But as a class member who is bound by the
         settlement, Frank clearly has standing to appeal. Devlin v.
         Scardelletti, 536 U.S. 1, 10 (2002). He properly objected at the
         fairness hearing and may “appeal the approval of a settle-
         ment … that will ultimately bind [him].” Id.
         B. Class Certification and Settlement Approval
             Although the standard of review is deferential—the deci-
         sion to certify a class and approve a class settlement is
         committed to the discretion of the district judge—our duty
         in this context is “far from pro forma.” Pearson, 772 F.3d at




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         780. We have explained that a district judge in this situation
         is akin to “a fiduciary of the class” and “is subject therefore
         to the high duty of care that the law requires of fiduciaries.”
         Id. (quoting Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 280
         (7th Cir. 2002)). Indeed, and especially in the settlement
         context, the judge must give the requirements for class
         certification “undiluted, even heightened, attention.”
         Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). The
         judge is called to “exercise the highest degree of vigilance in
         scrutinizing proposed settlements of class actions.” Synfuel
         Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 652 (7th
         Cir. 2006) (quoting Reynolds, 288 F.3d at 279).
             Rule 23(a) requires that the class representatives “fairly
         and adequately protect the interests of the class,” FED. R. CIV.
         P. 23(a)(4), and a class-action settlement may not be ap-
         proved unless it is “fair, reasonable, and adequate,” FED. R.
         CIV. P. 23(e)(2). Underpinning both requirements is a concern
         for the unnamed class members whose interests the named
         plaintiffs represent and the settlement is meant to serve. We
         have remarked on the tendency of class settlements to yield
         benefits for stakeholders other than the class: Class counsel
         “support the settlement to get fees; the defendants support it
         to evade liability; the court can’t vindicate the class’s rights
         because the friendly presentation means that it lacks essen-
         tial information.” Kamilewicz v. Bank of Boston Corp., 100 F.3d
         1348, 1352 (7th Cir. 1996). That is why “objectors play an
         essential role in judicial review of proposed settlements of
         class actions and why judges must be both vigilant and
         realistic in that review.” Pearson, 772 F.3d at 787.
            We put the point more bluntly in another appeal by
         Frank as the objector: A class settlement that results in fees




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         for class counsel but yields no meaningful relief for the class
         “is no better than a racket.” In re Walgreen, 832 F.3d at 724. If
         the class settlement does not provide “effectual relief” to the
         class and its “principal effect” is to “induce the defendants to
         pay the class’s lawyers enough to make them go away,” then
         the class representatives have failed in their duty under
         Rule 23 to “fairly and adequately protect the interests of the
         class.” In re Aqua Dots Prods. Liab. Litig., 654 F.3d 748, 752–53
         (7th Cir. 2011) (quoting FED. R. CIV. P. 23(a)(4)). And if the
         class representatives have agreed to a settlement that pro-
         vides meaningless relief to the putative class, the district
         court should refuse to certify or, alternatively, decertify the
         class. “No class action settlement that yields zero benefits for
         the class should be approved, and a class action that seeks
         only worthless benefits for the class should be dismissed out
         of hand.” In re Walgreen, 832 F.3d at 724.
             The plaintiffs and Subway defend this settlement by in-
         sisting that it actually provides meaningful benefits to the
         class because Subway has bound itself, for a period of four
         years, to a set of procedures designed to achieve better
         bread-length uniformity. A simple comparison of the state of
         affairs before and after the settlement exposes the cynicism
         in this argument.
             Before the settlement, class members could be fairly cer-
         tain that a Subway Footlong sandwich would be at least
         12 inches long. They could rest assured that because all
         loaves are baked from the same quantity of dough, each
         sandwich contained the same amount of bread even if an
         occasional loaf failed to bake to the full 12 inches in length.
         And if a loaf happened to bake up slightly shorter than
         12 inches, customers could be assured of receiving the same




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         quantity of meat and cheese as any other customer; no class
         member, regardless of bread length, was cheated on the
         amount of ham or turkey, provolone or pepper jack. As for
         other sandwich ingredients, class members could be as
         profligate or as temperate as they pleased: Subway’s “sand-
         wich artists” add toppings at the customer’s request. In sum,
         before the settlement there was a small chance that Subway
         would sell a class member a sandwich that was slightly
         shorter than advertised, but that sandwich would provide
         no less food than any other.
             After the settlement—despite the new measuring tools,
         protocols, and inspections—there’s still the same small
         chance that Subway will sell a class member a sandwich that
         is slightly shorter than advertised. Indeed, the settlement
         explicitly acknowledges that “because of the inherent varia-
         bility in food production and the bread baking process,
         [Subway] will never be able to guarantee that each loaf of
         bread will always be exactly 12 inches or greater in length
         after baking.” It’s safe to assume that Subway customers
         know this as a matter of common sense, but the settlement
         requires Subway to include a disclaimer on its website and
         in a poster prominently displayed at each restaurant: “Due
         to natural variations in the bread baking process, the size
         and shape of bread may vary.” And after the settlement, just
         as before, the rare sandwich that falls short of the full
         12 inches will still provide the customer the same amount of
         food as any other. The injunctive relief approved by the
         district judge is utterly worthless. The settlement enriches
         only class counsel and, to a lesser degree, the class repre-
         sentatives.




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             The plaintiffs and Subway observe that the class can re-
         turn to court with a motion for contempt sanctions in the
         event of any violation of the injunction. They rely on Eubank
         v. Pella Corp., 753 F.3d 718 (7th Cir. 2014), as support for this
         point, but that case doesn’t help them. In Eubank the defend-
         ant window manufacturer had offered extended warranties
         to purchasers before the class litigation; under the proposed
         settlement, the manufacturer could not revoke the extended
         warranties. That, we said, “confer[red] a bit of extra value”
         on the class members. Id. at 725.
            Here, the procedures required by the settlement do not
         benefit the class in any meaningful way. The settlement
         acknowledges as much when it says that uniformity in bread
         length is impossible due to the natural variability of the
         bread-baking process. Contempt as a remedy to enforce a
         worthless settlement is itself worthless. Zero plus zero
         equals zero.
             Because the settlement yields fees for class counsel and
         “zero benefits for the class,” the class should not have been
         certified and the settlement should not have been approved.
         In re Walgreen, 832 F.3d at 724. Because these consolidated
         class actions “seek[] only worthless benefits for the class,”
         they should have been “dismissed out of hand.” Id.
                                             REVERSED AND REMANDED.




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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


Everett McKinley Dirksen United States Courthouse                                Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                      Phone: (312) 435-5850
              Chicago, Illinois 60604                                           www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 August 25, 2017


                                        JOEL M. FLAUM, Circuit Judge
    Before:

                                        ILANA DIAMOND ROVNER, Circuit Judge

                                        DIANE S. SYKES, Circuit Judge


                                         IN RE: SUBWAY FOOTLONG SANDWICH MARKETING AND
                                         SALES PRACTICES LITIGATION
 No. 16-1652
                                         APPEAL OF: THEODORE FRANK
                                         Objector

 Originating Case Information:

 District Court No: 2:13-md-02439-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman


       The judgment of the District Court is REVERSED with costs, and REMANDED
in accordance with the decision of this court entered on this date.




 form name: c7_FinalJudgment(form ID: 132)




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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                 Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                       Phone: (312) 435-5850
             Chicago, Illinois 60604                                             www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 September 18, 2017


To:            Stephen C. Dries
               UNITED STATES DISTRICT COURT
               Eastern District of Wisconsin
               Milwaukee , WI 53202-0000



                                         IN RE: SUBWAY FOOTLONG SANDWICH MARKETING AND
                                         SALES PRACTICES LITIGATION
 No. 16-1652
                                         APPEAL OF: THEODORE H. FRANK
                                         Objector

  Originating Case Information:

 District Court No: 2:13-md-02439-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  AMOUNT OF BILL OF COSTS (do not
                                                           450.00
 include the $):



  RECORD ON APPEAL STATUS:                                 No record to be returned




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NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

                           -----------------------------------




 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:

   09/18/2017                                       /s/ D. La Brie
 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)




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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                               Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                     Phone: (312) 435-5850
             Chicago, Illinois 60604                                           www.ca7.uscourts.gov




                                                    BILL OF COSTS
 September 18, 2017



Taxed in Favor of: Appellant Theodore H. Frank


                                         IN RE: SUBWAY FOOTLONG SANDWICH MARKETING AND
                                         SALES PRACTICES LITIGATION
 No. 16-1652
                                         APPEAL OF: THEODORE H. FRANK
                                         Objector

  Originating Case Information:

 District Court No: 2:13-md-02439-LA
 Eastern District of Wisconsin
 District Judge Lynn Adelman
The mandate or agency closing letter issued in this cause on .

BILL OF COSTS issued in the amount of: $450.00.



                                                                        Cost of            Total Cost
                                                                        Each Item          Each Item

            For docketing a case on appeal or review or
 1.
            docketing any other proceeding:
                                                                        __________         __________
            ___________________________

 2.         For reproduction of any record or paper,
                                                                        __________         __________
            per page: _______________________________________

 3.         For reproduction of briefs:
                                                                        __________         ___450.00___
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4.      ___________________________________________
                                                          __________      __________
        ___________________________________________

5.
        ___________________________________________
                                                          __________      __________
        ___________________________________________

                                                          TOTAL:          __450.00__




form name: c7_BillOfCosts(form ID: 140)




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